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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )     Chapter 11
In re                                                 )
                                                      )     Case No. 09-10156 (ALG)
TRONOX INCORPORATED, et al.,                          )
                                                      )     Jointly Administered
                        Debtors.                      )
                                                      )
                                                      )
TRONOX INCORPORATED, et al.,                          )
                                                      )
                        Plaintiffs,                   )
v.                                                    )
                                                      )
KERR-MCGEE CORPORATION, et al.,                       )
                                                      )     Adv. Pro. No. 09-01198 (ALG)
                        Defendants.                   )
                                                      )
THE UNITED STATES OF AMERICA,                         )     DEFENDANTS’ SUPPLE-
                                                      )     MENTAL MEMORANDUM
                        Plaintiff-Intervenor,         )     ON THEIR 502(h) CLAIM
v.                                                    )     AND OFFSET
                                                      )
TRONOX, INC., et al.,                                 )
                                                      )
                        Defendants.                   )
                                                      )
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                                       INTRODUCTION

       In its December 12, 2013 Memorandum of Opinion, After Trial (the “Opinion”) in this

Adversary Proceeding, the Court concluded “that the Defendants must respond in damages, but

not at the level demanded by the Plaintiffs.” Tronox, Inc. v. Kerr-McGee Corp., Adv. Proc. No.

09-1198, slip op. at 4 (Bankr. S.D.N.Y. Dec. 12, 2013) (the “Slip Op.”). Defendants, the Court

held, may file a claim under Section 502(h) of the Bankruptcy Code, which Article IV.C.5 of

Tronox’s confirmed Plan of Reorganization (the “Plan”) treats as an offset against any judgment

in this Adversary Proceeding. See id. at 137–138; see also DX 2568 at Art. IV.C.5.

       The Court provisionally outlined three steps to calculate Defendants’ 502(h) claim and

offset. First, it started with the net value, as of November 2005, of the transferred oil and gas

exploration and production assets—$14.459 billion, as the Court found Plaintiffs proved. See id.

at 135. Second, the Court subtracted $4 billion, an estimate of the amount of legacy environ-

mental and tort liabilities as of 2010, which was included in Tronox’s 2010 Disclosure Statement.

See id. at 146–147; see also DX 2522 at 79, 83 (the “Disclosure Statement”). The remaining

$10.459 billion is, in the Court’s view, the “residual value” to which Defendants are entitled un-

der Section 502(h). See Slip Op. at 143, 146–147. Third, to calculate Defendants’ offset, the

Court noted that the Plan provides that Defendants’ 502(h) claim must be multiplied by the “the

percentage recovery to Allowed Class 3 General Unsecured Claims.” Id. at 145. The Court sug-

gested that the multiplier could be the mean estimated percentage recovery for Class 3 creditors

participating in the rights offering (89%), or a hypothetical percentage recovery that swamps

Class 3 with Defendants’ 502(h) claim and thereby dilutes the multiplier to almost nothing

(2.8%). See id. at 147–149.

      The Court directed the parties to address its proposed calculation, particularly the multiplier.

See id. at 166. While Defendants strenuously disagree with the majority of the Court’s Opinion,


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this supplemental memorandum does not seek reconsideration, review, or reversal of the Court’s

findings of fact and conclusions of law. Rather, for the limited purposes of this brief, Defendants

accept the Court’s findings and conclusions, and, in compliance with the Court’s request for

briefing, Defendants address the narrow issue of dilution and the amount of their Section 502(h)

claim. Defendants expressly reserve and preserve all of their arguments and rights of review, as

well as their ability to object to and appeal the Court’s findings of fact and conclusions of law.

       This supplemental memorandum explains how the Court’s findings of fact and the prin-

ciples inherent in the Court’s remedial framework bear upon the calculation of Defendants’

502(h) claim and resulting offset. Part I of the memorandum briefly reviews four overarching

remedial principles the Court adopted in its Opinion. Part II explains how those principles direct

the Court to reject the diluted multiplier. By its plain meaning, Article IV.C.5 of the Plan does

not require, authorize, or give discretion to the Court to dilute; indeed, dilution is fundamentally

inconsistent with the Plan as a whole, the law, and all the governing remedial principles.

       Finally, Part III addresses two aspects of the Court’s proposed calculation that are incon-

sistent with the Court’s findings of fact and the overarching remedial principles. First, in calcu-

lating Defendants’ 502(h) claim, the Court should use its own findings of the actual amount of

the liabilities of the Debtors (Tronox, Inc. and its affiliates) as of the time that the Court held the

transfers occurred, rather than use Plaintiffs’ post-petition $4 billion estimate of the legacy liabil-

ities. Second, the plain meaning of Article IV.C.5 of the Plan requires multiplying Defendants’

502(h) claim by the actual percentage recovery of creditors with allowed Class 3 general unse-

cured claims, not by the 89% multiplier. The memorandum concludes with a table (Table 5) that,

in summary, shows how to calculate Defendants’ 502(h) claim and offset.




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                                            ARGUMENT

I.      THE COURT’S OWN REMEDIAL FRAMEWORK DEFINES THE CONTOURS
        OF DEFENDANTS’ 502(h) CLAIM AND OFFSET.

        The remedial framework the Court adopted is built upon four interrelated legal and equi-

table principles. They apply at each step of the analysis and calculation of Defendants’ 502(h)

claim and offset, including the question of whether to dilute the multiplier.

        The first principle is restoration. The primary goal of fraudulent-transfer law and Section

502(h), the Court explained, is to restore parties to the positions they occupied just before the

transfer that is avoided. See Slip Op. at 138–139, 142–143; see also In re Dreier LLP, No. 08-

15051, 2012 WL 4867376, at *3 (Bankr. S.D.N.Y. Oct. 12, 2012) (“Section 502(h) is based on

the principle of fraudulent transfer law that the return of a fraudulent transfer restores the parties

to the status quo.”); In re Best Prods., Co., 168 B.R. 35, 57 (Bankr. S.D.N.Y. 1994). Section

502(h) is “based on a type of ‘restorative principle,’” so “that when a fraudulent transfer is

avoided, the parties are restored to their previous positions.” Slip Op. at 143 (citations and inter-

nal quotations omitted). In this case, because the Court held that the transfers effectively oc-

curred on November 28, 2005, id. at 120, 134, and because Defendants owned the Debtors at that

time, id. at 81–82, 143, the Court ruled that, “if the parties are to be restored to the positions they

held before the transfers, Defendants would be entitled to the residual value of the E&P assets

after their debts, including the legacy liabilities, were paid in full,” id. at 143.

        The second principle is a corollary to restoration: bankruptcy courts restoring the status

quo may not inflict penalties not imposed by the law. See Keppel v. Tiffin Sav. Bank, 197 U.S.

356, 363 (1905). “[T]he purpose of fraudulent conveyance law is remedial rather than punitive.”

Tronox, Inc. v. Anadarko Petroleum Corp. (In re Tronox Inc.), 464 B.R. 606, 618 (Bankr.



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S.D.N.Y. 2012); see G. Glenn, FRAUDULENT CONVEYANCES & PREFERENCES § 260(a), at 446–

447 (1940). Section 502(h) is not punitive. See First Trust & Deposit Co. v. Receiver of Salt

Springs Nat’l Bank (In re Onondaga Litholite Co.), 218 F.2d 671, 673 (2d Cir. 1955); 4 COLLIER

ON BANKRUPTCY     ¶ 502.09 (15th ed. 1996) As the Court held, even a defendant who commits an

intentional fraudulent transfer may bring a 502(h) claim, and the claim is evaluated independent

of the conduct leading to the avoidance. See Slip Op. at 139–140.

       The third principle is equal treatment of similarly situated creditors. It is “[o]ne of the

primary goals—if not the primary goal—of the Code.” In re SemCrude, L.P., 399 B.R. 388, 399

(Bankr. D. Del. 2009) (emphasis added); see Howard Delivery Serv., Inc. v. Zurich Am. Ins. Co.,

547 U.S. 651, 655 (2006); Begier v. IRS, 496 U.S. 53, 58 (1990). “[E]quality of distribution” is

the “purpose of avoidance actions.” Awal Bank, BSC v. HSBC Bank USA (In re Awal Bank,

BSC), 455 B.R. 73, 90 (Bankr. S.D.N.Y. 2011) (citing Begier, 496 U.S. at 54). And the principle

of equality undergirds Section 502(h) as well. No matter when a fraudulent transfer is avoided,

Section 502(h) requires treating a claim “arising from the recovery of property” as if the claim

arose before the bankruptcy petition was filed. See 11 U.S.C. § 502(h); see also 4 COLLIER ON

BANKRUPTCY ¶ 502.09. Section 502(h) facilitates equal treatment among all similarly situated

creditors—the fraudulent-transfer defendant with a belated claim against the estate as well as

those who took recoveries before the adjudication of the fraudulent-transfer claim. A fraudulent-

transfer defendant’s right to bring a 502(h) claim would be hollow if he or she could not partake

in the estate to the same extent as others. See generally In re Mid Atlantic Fund, Inc., 60 B.R.

604, 609 (Bankr. S.D.N.Y. 1986) (“The Act evidences a natural desire to restore the equality of a

distribution disturbed by the illicit preference, transfer, etc.”) (quotations and citations omitted)

(quoting 3 COLLIER ON BANKRUPTCY ¶ 57.19 (14th ed. 1977)).




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       Finally, the fourth principle the Court noted is that the plain meaning of a confirmed plan

controls. See Slip Op. at 143; see also United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260,

275 (2010); Charter Asset Corp. v. Victory Mkts., Inc. (In re Victory Mkts., Inc.), 221 B.R. 298,

303 (B.A.P. 2d Cir. 1998) (“As with any contract, the starting point for review of a plan is its

plain language.”). Where an inequitable result is not compelled by the plain meaning of a con-

firmed plan, the Court must not interpret the plan or exercise discretion to reach an inequitable

result. Instead, the Court must adhere to the background principles—restoring the status quo,

treating similar creditors equally, and not punishing parties.

II.    DILUTING THE MULTIPLIER WOULD CONTRADICT THE PLAN AND BE
       LEGALLY IMPROPER.

       Article IV.C.5 of the Plan gives Defendants an offset in this Adversary Proceeding equal

to the amount of their 502(h) claim “multiplied by the percentage recovery to Allowed Class 3

General Unsecured Claims,” subject to the reserved issue of whether that percentage recovery

may be diluted by the inclusion of Defendants’ 502(h) Claim in the Class 3 claims pool.

DX 2568 at Art. IV.C.5. For the following reasons, dilution is legally improper.

       A.      Article IV.C.5 Of The Plan Does Not Authorize The Court To Apply A Dilut-
               ed Multiplier.

       Defendants first address a threshold matter concerning the proper interpretation of the

Plan. Article IV.C.5, which memorializes the parties’ agreement with respect to Defendants’

502(h) claim, provides as follows:

                      Notwithstanding any contrary provision contained herein or in any
               documents executed in connection herewith (including the Anadarko Liti-
               gation Trust Agreement), if the Anadarko Section 502(h) Claim is Al-
               lowed, Anadarko will be entitled to discount and/or otherwise reduce any
               judgment in the Anadarko Litigation by the amount of any Allowed Ana-
               darko Section 502(h) Claim multiplied by the percentage recovery to Al-
               lowed Class 3 General Unsecured Claims (which percentage recovery may
               or may not be computed on a claims base including such Allowed Ana-
               darko Section 502(h) Claim) and Anadarko shall be obligated to pay only


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               the reduced amount of such judgment, provided, however, that the per-
               centage by which any such Allowed Anadarko Section 502(h) Claim may
               be multiplied shall be determined by the Bankruptcy Court and the parties
               reserve their rights with respect to the extent of the dilutive effect of the
               Allowed Anadarko Section 502(h) Claim on Anadarko’s ability to reduce
               any judgment in the Anadarko Litigation. Anadarko has agreed that the
               foregoing discount or reduction in amount payable with respect to any
               judgment in the Anadarko Litigation shall be its sole and exclusive reme-
               dy on account of any Allowed Anadarko Section 502(h) Claim and that it
               shall have no recourse against Tronox or Reorganized Tronox on account
               of such Anadarko 502(h) Claim.

       In short, Article IV.C.5 provides that the parties agreed that Anadarko’s claim would be

entitled to the same percentage recovery as claims of Allowed Class 3 creditors, “(which per-

centage recovery may or may not be computed on a claims base including such…Claim)” and

which percentage “shall be determined by the Bankruptcy Court and the parties reserve their

rights with respect [there]to.” While the Opinion refers to “discretion on this particular question,”

Slip Op. at 148, and suggests that the Court might elect to calculate “the percentage recovery”

either with or without Defendants’ 502(h) claim added to the Class 3 “claims base,” the Plan

does not permit the Court to exercise discretion contrary to clear legal authority.

       Defendants did not authorize the Court to dilute the multiplier and did not agree that dilu-

tion ever would be appropriate. Rather, the parenthetical clause and the reservation of rights in

Article IV.C.5 together reflect the parties’ disagreement over dilution. Some thought it may be

legally appropriate to dilute the multiplier; others (namely, Defendants) thought it may not be

legally appropriate to dilute the multiplier, and both sides reserved their rights with respect to the

issue. The fact that the parties noted their opposing viewpoints in one portion of a sentence and

then “reserv[ed] their rights” to later argue about those opposing viewpoints in an ensuing “pro-

vided however” clause of the sentence, does not suggest that they either agreed to dilution or

agreed to permit the Court to make the dilution determination unbounded by legal authority.




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Any other construction would contradict the plain language of the Plan and the principle that all

determinations made by the Court must be made by reference to applicable law.

         Article IV.C.5 cannot be read as conferring authority on the Court to select between the

actual percentage recovery of Class 3 and the entirely hypothetical dilutive option. The only op-

tion the parties agreed upon in Article IV.C.5 was that the multiplier would be “the percentage

recovery” for Class 3. Whether that multiplier could be diluted was reserved and is addressed

below.

         B.     No Other Provision Of The Plan Authorizes Dilution; In Fact, Dilution Is
                Contrary To The Plan As A Whole.

         Resolving the reserved dispute over dilution is a straightforward task of interpreting and

applying the Plan and governing legal and remedial principles. Defendants’ 502(h) claim cannot

be included in the Class 3 general unsecured creditors’ “claims base”—even hypothetically—

because the Plan expressly excludes the claim from Class 3. As defined by the Plan, Class 3

“consists of all General Unsecured Claims.” DX 2568 at 111. The Plan, in turn, defines “Gen-

eral Unsecured Claims” as “any Unsecured Claim (including the Unsecured Notes Claim) that is

not … the Anadarko Section 502(h) Claim.” Id. at 99 (emphasis added). In accordance with the

plain language of the Plan, “the percentage recovery” that Class 3 creditors actually received

cannot be calculated by adding Defendants’ 502(h) claim to the Class 3 claims base. A class’s

“percentage recovery” cannot logically or reasonably be calculated by reference to a claim that is

not part of that class.

         This result accords with the Plan’s history. In 2010, it was clear that this Adversary Pro-

ceeding would not be resolved before Plan confirmation. Creditor constituencies wanted to sepa-

rate the legacy liabilities from the enterprise value of reorganized Tronox’s titanium dioxide

business, so they assigned the recovery from the Adversary Proceeding to environmental and tort



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creditors (Classes 4 and 5) and the reorganized business to the general unsecured creditors (Class

3). If Defendants’ 502(h) claim had been classified as a general unsecured claim, a huge portion

of Class 3’s equity in the business would have to have been reserved to await the end of the Ad-

versary Proceeding and Defendants’ resulting 502(h) claim. None of the other creditors wanted

that; they wanted their recovery in reorganized Tronox’s shares that they could convert to cash

immediately. So the parties—including Defendants and environmental and tort creditors—

compromised. The 502(h) claim was excluded from Class 3, and Classes 4 and 5 received the

benefits and burdens of the Adversary Proceeding. However, to ensure that Defendants fared no

better and no worse than Class 3 creditors, the Plan weighted Defendants’ offset right by “the

percentage recovery” of Class 3. This, too, was logical because “the percentage recovery” of

Class 3 certainly would be known upon the Plan’s Effective Date. Applying Class 3’s percent-

age recovery therefore gave predictability and certainty and achieved equality among similarly

situated creditors.

        Equality between Defendants and Class 3 general unsecured creditors is the manifest

purpose of weighting Defendants’ 502(h) claim by Class 3’s “percentage recovery.” Yet, dilut-

ing the multiplier makes equality impossible. Before the Plan’s Effective Date, the Debtors es-

timated that Class 3 general unsecured creditors participating in the rights offering would receive

anywhere from 78% to 100% of their claims. On the Plan’s Effective Date, they actually re-

ceived far more because Tronox’s stock proved to be worth far more than the estimates the

Debtors gave the Court. Interpreting the Plan to authorize the Court to dilute the multiplier and

award Defendants just 2.8% of their 502(h) claim would result in a massive inequality.

        C.      Dilution Is Contrary To The Typical Approach To 502(h) Claims.

        Like a horse and cart, an avoidance judgment and a 502(h) claim arising from it normally

travel together. A defendant who pays an avoidance judgment normally gets a 502(h) claim


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against the same pool of assets as similarly situated creditors, and that pool normally includes

what is recovered as a result of the judgment. The cart follows the horse. See Official Comm. of

Unsecured Creditors of Quebecor World (USA) Inc. v. Am. United Life Ins. Co. (In re Quebecor

World (USA) Inc.), 453 B.R. 201, 204 (Bankr. S.D.N.Y. 2011); see also Page v. Rogers, 211 U.S.

575, 581 (1909) (granting an offset to an avoidance defendant because he was entitled to share in

the recovery); cf. 11 U.S.C. § 502(d) (a fraudulent-transfer defendant may participate in the es-

tate upon surrendering the transferred assets). The avoidance judgment goes into the numerator

along with other assets available to the class, and the 502(h) claim goes into the denominator

along with the claims of creditors participating in the class. The “percentage recovery” normally

is the product of that calculation.

         Diluting the multiplier would separate the cart from the horse, sending the entire avoid-

ance judgment to Classes 4 and 5 and the 502(h) claim to Class 3. The result would be perverse:

As the 502(h) claim increases, the multiplier decreases, leaving Defendants with smaller and

smaller portions of their 502(h) claim. The Court should not impose this atypical approach to

502(h) claims or the unfairness and inequality it would generate. Accordingly, the typical ap-

proach should prevail if, contrary to Defendants’ arguments, the Court hypothetically treated De-

fendants’ 502(h) claim as a Class 3 claim: The Court would have to add the value of the 502(h)

claim to the hypothetical denominator and add the avoidance judgment to the hypothetical nu-

merator. Using the Court’s numbers for the Class 3 creditors who did not participate in the rights

offering, see Slip Op. at 147 n. 127, the multiplier would not reduce Defendants’ 502(h) claim,

but increase it. See Table 1.1




1
 Defendants, the Court held, are “entitled to receive the economic benefit” as if they had participated in the offering.
Slip Op. at 147–148.


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         D.       Diluting The Multiplier Would Violate Governing Remedial Principles.

         Even if Article IV.C.5 enabled the Court to dilute the multiplier, the Court would clearly

err and abuse its discretion by diluting the multiplier to 2.8% and awarding Plaintiffs over $14

billion. As the Court stressed, creditors should not “receive[] more than 100% of the value of

their claims,” particularly when the excess comes out of other creditors’ pockets. Slip. Op. at

149. Plaintiffs would be substantially overpaid with either judgment the Court suggested ($5.1

billion or $14.4 billion); even their own unproven estimate of legacy liabilities as of 2010 was $4

billion.2

         Diluting the multiplier and awarding Plaintiffs an unprecedented overpayment would be

contrary to the Court’s own remedial principles. For Defendants to retain the amounts above

what is necessary to satisfy Plaintiffs’ liabilities would restore the pre-transfer status quo. To

dilute the multiplier and give that sum to Plaintiffs would punish Defendants and provide a wind-


2
 It is unclear from the language of the Disclosure Statement whether Plaintiffs valued the legacy liabilities as of
2009 or 2010. It suggests Plaintiffs valued the legacy liabilities as of 2010, which Defendants assume for purposes
of this brief. See DX 2522 at 79 n. 7, 83 nn. 10, 11 (basing evaluations on tort claims “to date” and on “future clean-
up costs from 2010”).


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fall to Plaintiffs. Defendants know of no authority for using Section 502(h) to accomplish a re-

sult so profoundly unjust.

III.   THE COURT SHOULD CORRECT TWO ELEMENTS OF THE PROPOSED
       OFFSET CALCULATION TO ENSURE CONSISTENCY WITH THE COURT’S
       REMEDIAL FRAMEWORK, LEGAL HOLDINGS, AND FINDINGS OF FACT.

       Two aspects of the proposed calculation of Defendants’ 502(h) claim and offset are in-

consistent with the Court’s findings and holdings. While Defendants’ broader challenges to the

Opinion are for another day, the Court can and now should adjust those two aspects of the pro-

posal to bring them in line with its own remedial framework, legal holdings, and findings of fact.

       A.      Use Of Plaintiffs’ Unproved $4 Billion Estimate Is Inconsistent With The
               Court’s Remedial Framework And Findings Of Fact.

       To restore the pre-transfer status quo, the Court accepted that it must place the parties in

the positions they would have been in had the transfers never happened. See Slip Op. at 141, 143.

The E&P Assets, therefore, would have remained with the Debtors and been used to pay off their

debts. The value above what the Debtors needed to pay their debts would have flowed back to

Defendants because they owned the Debtors at the time of the transfers. As the Court put it, De-

fendants would have been “entitled to the residual value of the E&P assets after their debts, in-

cluding the legacy liabilities, were paid in full.” Id. at 143. The Court held that Defendants’

502(h) claim should equal that “residual value.” Id.

       The Court held that the transfers occurred on November 28, 2005 and adopted Plaintiffs’

expert evidence that the Debtors transferred $14.459 billion of E&P Assets as of that date. See

Slip Op. at 81–82, 134–135. $14.459 billion, under the Court’s findings, is the amount that

would have remained with the Debtors had the transfers never happened. From that amount, the

Court proposed subtracting $4 billion, on the assumption that $4 billion was the value of the leg-

acy liabilities at the time of the 2005 transfers. See id. at 146–147. Although $4 billion was the



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midpoint of Plaintiffs’ own post-petition estimates of the legacy liabilities as of 2010, the Court

reasoned that Plaintiffs had “not contended that it changed substantially from 2005.” Id. at 147

n. 126. Table 2 sets out the Court’s calculation.




       Using the post-petition estimate as a proxy for the actual amount of the 2005 legacy lia-

bilities contradicts the Court’s own findings of fact. The Court found that the net present value

of the legacy liabilities on November 28, 2005 was $1.757 billion. See Slip Op. at 111; see also

id. at 114 (valuing net legacy liabilities, after insurance rights and other related assets, at $1.27

billion). That is less than half of the post-petition estimate. If the Court were to reconcile its

proposed calculation of Defendants’ 502(h) claim with the Court’s findings of fact, Defendants’

502(h) claim should be quantified at $12.702 billion, which is $14.459 billion less $1.757 billion.

See Table 3.




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       Yet that reconciliation would not, by itself, bring the Court’s calculation of Defendants’

502(h) claim fully in line with the Court’s remedial framework. The Court correctly noted that

Defendants’ 502(h) claim is for the 2005 “residual value of the E&P assets after their debts, in-

cluding the legacy liabilities, were paid in full.” Slip Op. at 143 (emphasis added). Defendants’

502(h) claim, then, is not simply the difference between the value of the E&P Assets and the leg-

acy liabilities, all measured as of 2005. Instead, to calculate the “residual value” to which De-

fendants are entitled, the Court must consider all of the 2005 debts (not just the legacy liabilities),

as well as all of the assets that were available to pay off the debts.

       The Court found those facts as well. It found that, just before the transfers in 2005, the

Debtors had $1.223 billion in assets on hand. See Slip Op. at 120. Those assets were mainly

comprised of Tronox’s titanium dioxide business, but included other assets as well. See id. at

114, 120. Upon avoidance of the transfers under the Court’s Opinion, E&P Assets worth

$14.459 billion would be restored to the Debtors and added to that $1.223 billion, for assets to-

taling $15.682 billion as of 2005. Defendants’ 502(h) claim, then, is for the portion of that



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$15.682 billion that would have flowed to them as the Debtors’ ultimate shareholders after satis-

fying all of the 2005 debts. See id. at 143. Those debts included more than the legacy liabilities:

The Court found that the net present value of the Debtors’ liabilities totaled $2.073 billion in

2005, $1.757 billion of which was the legacy liabilities. See id. at 120. At the time of the trans-

fers, then, the difference between all of the assets and all of the liabilities was $850 million, ac-

cording to the Court. Id. $850 million would have satisfied all of the Debtors’ creditors in 2005;

$850 million was, in other words, the net creditor shortfall.

       To be true to the Court’s remedial framework and restore the parties to their pre-transfer

positions, Defendants have a claim for the excess after the E&P Assets and the Debtors’ other

assets together are applied to all liabilities, including, but not limited to, the legacy liabilities—

all measured as of 2005. Upon restoration, all value above $850 million (the “residual value”)

would have gone to Defendants. Using the facts found by the Court, Defendants’ 502(h) claim

should be calculated as $14.459 billion less $850 million, or $13.609 billion. See Table 4.




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        Plaintiffs might embrace mismatching the $14.459 billion finding with their own $4 bil-

lion unproven, post-petition estimate. But fraudulent-transfer law and the restoration principle

require matching both values as of the date of the transfers. So does Section 502(h), which re-

flects the governing remedial principles and requires the Court to treat Defendants’ 502(h) claim

“as if such claim had arisen before the date of the filing of the petition.” 11 U.S.C. § 502(h).

Because post-petition values are, by definition, not from “before the date of the filing of the peti-

tion,” they have no bearing here. Just as the Court’s proposed calculation uses the 2005 value of

the E&P Assets that the Court found Plaintiffs proved at trial, the Court should use the 2005 val-

ue of the legacy liabilities that the Court found Plaintiffs proved at trial.

        There are compelling reasons not to use the midpoint of Plaintiffs’ post-petition estimates

to calculate Defendants’ 502(h) claim. Cf. Slip Op. at 146 (“If we accept Plaintiffs’ valuation of

the legacy liabilities for purposes of confirmation of the plan as $4 billion ….”) (emphasis add-

ed). Plaintiffs never offered to prove their estimates at trial, and unproved assertions in a disclo-

sure statement are not binding in adversary proceedings. See Duffy v. Futter (In re Futter Lum-

ber Corp.), Nos. 09-73291-478, ADV 11-9055-478, 2011 WL 5417094, at *6 (Bankr. E.D.N.Y.

Nov. 8, 2011). Defendants expressly objected to the Disclosure Statement, including the esti-

mates. See, e.g., Objection of Anadarko Petroleum Corporation and Kerr-McGee Corporation to

the Disclosure Statement Regarding the Joint Plan of Reorganization of Tronox Incorporated, et

al. (Docket No. 1822) at ¶¶ 3, 34. In fact, the estimates themselves are replete with disclaimers.

See DX 2522 at 79, 82–83 & nn. 7, 10, & 11 (noting the estimates are not binding on any party

and are subject to change). Had the parties intended that Defendants’ 502(h) claim and their off-

set be calculated using Plaintiffs’ unproved estimates, the Plan would have been drafted differ-




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ently; Article IV.C.5 would have mentioned a specific estimated percentage recovery, since the

estimates existed at that time.

        Plaintiffs may contend that a judgment of $850 million or $1.757 billion will under-

compensate them, speculating that their claims are worth more than either figure. But Plaintiffs,

too, are governed by the Plan. The Plan gave Plaintiffs $270 million in cash, as well as other as-

sets and a fraudulent-transfer claim subject to an offset. See DX 2522 at 83. The latter is based

on principles of fraudulent-transfer law and values as of the transfers’ effective date, not the es-

timated amount of their creditor claims. Any argument against using the Court’s findings for the

value of legacy liabilities as of 2005 ($1.757 billion) or the net creditor shortfall ($850 million)

would violate the principle of restoring the pre-transfer status quo.

        It also would ignore other relief Plaintiffs might seek. For instance, Defendants expect

Plaintiffs to seek prejudgment interest in this case. In an appropriate case, a judgment might be

expanded by prejudgment interest, which takes into account the time value of money. See In re

CNB Int’l, Inc., 393 B.R. 306, 335–336 (Bankr. W.D.N.Y. 2008). The Court should not shrink

Defendants’ offset to address concerns that other doctrines of law address more directly.

        There is no admissible evidence in the record on the amount of the legacy liabilities on

any date other than the transfer date found by the Court. Plaintiffs did not offer evidence of the

liabilities’ amount as of 2010. If the Court concluded that the 2010 amount of the legacy liabili-

ties were legally relevant to calculating the 2005 “residual value” upon which Defendants’ 502(h)

claim is founded, fairness would require that Defendants be afforded an evidentiary hearing—

likely costly and long—to address that question. Fortunately, the Court’s remedial framework is

focused on the 2005 pre-transfer status quo, and the Court specifically found the 2005 amount of

the liabilities, as well as the net creditor shortfall at that time.




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       B.      The Terms Of The Plan Require Using The Actual “Percentage Recovery To
               Allowed Class 3 Claims” As A Multiplier, Not A Pre-Confirmation Estimate.

       The Court’s proposed calculation of Defendants’ offset multiplies Defendants’ 502(h)

claim by 89%. Slip Op. at 148. The Court derived that multiplier from the Disclosure Statement,

where Plaintiffs projected a range of recoveries between 78% and 100% for Class 3 general un-

secured creditors participating in the rights offering. See DX 2522 at 82. Resting on that projec-

tion, the Court posited that the “percentage recovery” mentioned in Article IV.C.5 is the “mean

percentage recovery” projected in the Disclosure Statement—that is, the midpoint of the estimat-

ed range. Slip Op. at 148.

       Using the Disclosure Statement’s estimate here would contradict the text of the Plan. Ar-

ticle IV.C.5 does not say that Defendants are entitled to an estimated “percentage recovery,” nor

does it even refer to the Disclosure Statement. It directs that the Defendants’ 502(h) claim be

multiplied by “the percentage recovery.” Use of the singular definite article “the” can mean only

the actual recovery realized by Class 3 general unsecured creditors. At the time of the Disclo-

sure Statement, the confirmation hearing, and the Court’s confirmation order, no single percent-

age recovery had occurred, and the Disclosure Statement predicted a range of recoveries. Some

Class 3 general unsecured creditors might have anticipated recovering at the low end of the range;

others might have anticipated more. But whatever they might have believed before the Plan’s

Effective Date, they all received identical pro rata shares on the Effective Date. Only then did

they all receive a single, uniform “percentage recovery.” See DX 2568 at 111. That actual per-

centage recovery is “the percentage recovery” mentioned in the Plan.

       Since the estimates were known when Article IV.C.5 was drafted, the parties could have

mentioned the Disclosure Statement, its estimated range, or any value from the range in Article

IV.C.5 had they wanted an estimate to be binding. But they did not. “The percentage recovery”



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was not identified by number in the Plan, nor could it have been. The Plan necessarily was

drafted before its Effective Date, and because the distribution was to be in new equity, the value

of the distribution and the resultant “percentage recovery” could not be known until the Effective

Date. The parties understood this, so they agreed that the Court would “determine” the percent-

age recovery later on, when and if Plaintiffs prevailed and Defendants sought their offset, assum-

ing the parties then disagreed about what Class 3 general unsecured creditors actually obtained

on the Plan’s Effective Date.

       The Court expressed concern that using Class 3’s actual percentage would be tantamount

to revising the Plan in light of later events, see Slip Op. at 150, but applying the Plan according

to its terms does not revise it. Class 3’s percentage recovery on the Effective Date is not “subse-

quent information,” id. at 150 n. 130, and calculating “the percentage recovery” as of the Effec-

tive Date is not the same thing as calculating it as of days, weeks, months, or years later. The

distribution to Class 3 occurred at the instant the Plan became effective and could be valued for

the first time only upon the Effective Date. Indeed, the Plan was not legally effective before then.

The Plan provides that it is “null and void” before the Effective Date and that nothing in the Plan

or the Disclosure Statement shall “constitute an admission, acknowledgment, offer or undertak-

ing by Tronox, any Holders or any other Entity in any respect” until the Effective Date.

DX 2568 at Art.IX.D.

       On the Effective Date, the total actual percentage recovery for holders of allowed Class 3

general unsecured creditors was 337%. See Def. FOF ¶¶ 2775–2779 (calculating Class 3’s per-

centage recovery in light of the S-1’s numbers); see also Tronox Ltd. Form S-1 Registration

Statement (DX 8968) at 338 (noting that Tronox common stock had a weighted-average fair val-

ue of $122.50 per share on the Effective Date). The Court rejected this figure in its Opinion,




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writing that “these recoveries could not have been anticipated at the time of confirmation.” Slip

Op. at 149 (emphasis added). The textual question under Article IV.C.5, however, is not what

could have been anticipated when the Court confirmed the Plan, but what “the percentage recov-

ery” actually was. That recovery occurred only on the Effective Date.

       Other difficulties arise from using the midpoint of the Disclosure Statement range as the

multiplier. The Disclosure Statement does not suggest that all points along the range are equally

likely—some might be more likely than others—so the midpoint is not even logically or mathe-

matically the most likely. There is no factual or mathematical reason to prefer 89% over 100%,

which also was included in the estimated range. In reality, no Class 3 creditor actually received

89% recovery. They all received far more. Setting the multiplier at 89% thus would violate the

manifest goal of the Plan and the Bankruptcy Code of treating Defendants equally and providing

them with the same percentage recovery as Class 3 general unsecured creditors.

       Defendants believe that the Plan and bankruptcy policy require setting the multiplier at

337%. Even so, Defendants recognize that the Court has held that it cannot award a creditor

greater than 100% recovery. See Slip Op. at 149. If the Court holds that the multiplier cannot be

higher than 100%, the Court should at least set the multiplier at 100%. It is the value in the

range closest to Class 3’s actual percentage recovery; and, within the parameters set by the Court,

it harmonizes the Court’s goal of not overpaying any creditor with the principle of treating simi-

larly situated creditors equally.

                                         CONCLUSION

       The Court should reject the heavily diluted multiplier because it is inconsistent with the

plain meaning of the Plan, applicable legal doctrines, and the remedial principles that the Court

held govern Section 502(h). The Court should reject the 89% multiplier for essentially the same

reasons; using that estimate contradicts the plain meaning of the Plan and counters the restorative,


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remedial, and equality principles. The multiplier should be at least 100%—not 89% and certain-

ly not 2.8%. That multiplier should be applied to a 502(h) claim derived from asset and liability

values that are measured as of the same date in 2005 and that reflect the Court’s findings of the

full extent of the Debtors’ assets and liabilities on that date.

        Table 5 summarizes Defendants’ positions. It lists three ways of calculating Defendants’

502(h) claim: using the Court’s own finding of $850 million as the net creditor shortfall as of

2005 (Scenario A); using the Court’s own finding of $1.757 billion as the amount of the legacy

liabilities as of 2005 (Scenario B); and using Plaintiffs’ post-petition $4 billion estimate of the

legacy liabilities as of 2010 (Scenario C). For each scenario, Table 5 calculates Defendants’ off-

set by applying Defendants’ 100% multiplier. Scenario C contradicts both the Opinion’s legal

rationale and the Court’s findings of fact. Scenario B contradicts the legal rationale in the same

way as Scenario C, but uses the Court’s finding of fact as to the total amount of legacy liabilities

on the relevant date. Only Scenario A is faithful both to the Opinion’s legal rationale and the

Court’s findings of fact. Accordingly, the principal amount of Defendants’ 502(h) claim should

be $13.609 billion, with a principal net judgment of $850 million.




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January 13, 2014                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Defendants’ Supplemental Memorandum on Their
502(h) Claim and Offset was served on the following counsel of record on January 13, 2014, as
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